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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-mc-60417-CIV-ALTONAGA

  WALGREEN CO., et al.,

         Plaintiffs,
  v.

  WYETH, INC., et al.,

        Defendants.
  _________________________/

                                                ORDER

         THIS CAUSE came before the Court sua sponte. On March 11, 2019, the Court entered

  an Order [ECF No. 12] referring the above-styled case to United States Magistrate Judge Chris M.

  McAliley for a report and recommendation on Plaintiffs’ Motion to Transfer, or in the Alternative,

  to Compel [ECF No. 1]. After having had the benefit of reviewing the parties’ submissions and

  applicable law, and to conserve judicial resources, it is

         ORDERED AND ADJUDGED that the Motion [ECF No. 1] is REFERRED to

  Magistrate Judge McAliley for a final order pursuant to 28 U.S.C. section 636(b)(1)(A).

         DONE AND ORDERED in Miami, Florida, this 26th day of March, 2019.



                                                              _________________________________
                                                              CECILIA M. ALTONAGA
                                                              UNITED STATES DISTRICT JUDGE

  cc:    counsel of record;
         Magistrate Judge Chris M. McAliley
